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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK, MANHATTAN DIVISION

Case number (if known)                                                      Chapter       11
                                                                                                                               Check if this an amended
                                                                                                                               filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document,                                                            is available.


1.   Debtor's name                560 Seventh Avenue Owner Secondary LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  560 Seventh Avenue
                                  New York, NY 10018-1801
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    560 Seventh Avenue Owner Secondary LLC                                                       Case number ( if known )
          Name


7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5511

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a small              Chapter 9
     business debtor must check           Chapter 11. Check      that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of operations,
     (whether or not the debtor is a                             cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      small business debtor ) must                               procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
                                                                 (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                                 under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                 sheet, statement of operations, cash-flow statement, and federal income tax return, or if any of these
                                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                 Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against the
     debtor within the last 8             Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                    Case number
                                                 District                                 When                                    Case number




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Debtor    560 Seventh Avenue Owner Secondary LLC                                                            Case number ( if known )
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                        Relationship
                                                     District                                   When                               Case number, if known


11. Why is the case filed in           Check all that apply:

                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                      Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .          Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                               1,000-5,000                                  25,001-50,000
    creditors                                                                                 5001-10,000                                  50,001-100,000
                                           50-99
                                           100-199                                            10,001-25,000                                More than100,000
                                           200-999


15. Estimated Assets                       $0 - $50,000                                       $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                           $50,001 - $100,000                                 $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                                $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                              $100,000,001 - $500 million                  More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                       $1,000,001 - $10 million                     $500,000,001 - $1 billion


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Debtor   560 Seventh Avenue Owner Secondary LLC                                       Case number ( if known )
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million                $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million               $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million              More than $50 billion




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Debtor    560 Seventh Avenue Owner Secondary LLC                                                          Case number ( if known )
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       July 7, 2023
                                                    MM / DD / YYYY


                                  /s/ Sethian Pomerantz                                                          Sethian Pomerantz
                                  Signature of authorized representative of debtor                               Printed name

                                  Title    President




18. Signature of attorney         /s/ Kevin J. Nash                                                                Date July 7, 2023
                                  Signature of attorney for debtor                                                      MM / DD / YYYY

                                  Kevin J. Nash
                                  Printed name

                                  Goldberg Weprin Finkel Goldstein LLP
                                  Firm name


                                  125 Park Ave Fl 12
                                  New York, NY 10017-5690
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      (212) 221-5700                  Email address         knash@gwfglaw.com

                                  Kevin J. Nash
                                  Bar number and State




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
In re:                                                                 Chapter 11

560 Seventh Avenue Owner Secondary LLC,                                Case No.

                                             Debtor.
---------------------------------------------------------------x

          DECLARATION PURSUANT TO LOCAL BANKRUPTCY RULE 1007-2

        Sethian Pomerantz declares the following under penalties of perjury pursuant to 28

U.S.C. §1746:

        1.       I am the President and sole officer of 560 Seventh Avenue Owner Secondary LLC

(the “Debtor”), which is the mezzanine entity holding the 100% membership interest of the

Margaritaville Resort Times Square Hotel located at 560 Seventh Avenue, New York, NY (the

“Hotel”). Following a duly noticed special meeting of the Debtor’s Independent Managers, I

have been authorized by a unanimous vote of the Independent Managers to commence a Chapter

11 petition on behalf of the Debtor, and I will oversee the Debtor’s reorganization, likely in

conjunction with a subsequent filing by the Hotel itself. I have been active in the business of the

Hotel since inception and, as such, I am familiar with the Debtor’s financial and legal affairs

        2.       The immediate purpose of this Chapter 11 case is to stay a UCC foreclosure

auction sale of the Debtor’s 100% membership interest in the Hotel.               The auction sale is

scheduled for July 10, 2023. The Debtor was unable to obtain a TRO to stay the auction sale in

the state court, triggering the urgency for the bankruptcy filing.

        3.       The Hotel is subject to multiple credit facilities, including a senior mortgage loan,

senior mezzanine loan and junior mezzanine loan, aggregating $309 million, plus accrued

interest. The Debtor’s 100% membership interest in the Fee Owner is subject to a pledge



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agreement (the “Pledge”) made with the lead mezzanine lender, AREPIII MVTS, LLC (the

“Senior Mezz Lender”) securing a mezzanine loan in the original principal amount of

$57,000,000, plus millions of dollars of accrued interest, the precise amount of which is

disputed.

        4.     A junior mezzanine loan in the original principal amount of $85 million was

provided by Global One Professional Investment Type Private U.S. Real Estate Investment Trust

No. 1(H) and Global One Professional Investment Type Private U.S. Real Estate Investment

Trust No. 2(H) (“Global One”) and is secured by a pledge of the 100% membership interest in

the Debtor held by 560 Seventh Owner Mezz LLC.

        5.     The Hotel itself is subject to a consolidated senior mortgage lien in the principal

amount of $167 million issued by OWS BCA Funding LLC.

        6.     The Chapter 11 petition is being filed on an emergency basis and will be

supplemented with the filing of a full set of schedules and statements within the next fifteen (15)

days.

                      Salient Events Leading up to the Chapter 11 Filing

        7.     The Hotel consists of 234 guest rooms and 34,271 square feet of retail space. The

Hotel was appraised in May 2023 as having a value of between $266 million and $350 million,

and it employs approximately 75 people.

        8.     The Hotel opened in 2021 amid challenging market conditions arising in

connection with the Covid-19 pandemic, resulting in operating shortfalls during its stabilization

period. On a positive note, the Hotel’s revenues are improving and are projected to exceed $25

million by the end of 2024 once various vacant retail space is leased.




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        9.      The ultimate business goal of the Debtor is to refinance the Hotel’s existing

mortgage and mezzanine debt based upon negotiated pay-offs with creditors.

        10.     Just prior to bankruptcy, the Debtor commenced an against the Senior Mezz

Lender in the Supreme Court, New York County (Index No. 653095/2023), and filed an Order to

Show Cause to stay the auction sale. Following a hearing, on Friday, July 7, 2023 the Order to

Show Cause was denied based upon a finding that the Debtor retains claims for monetary

damages arising out of the Senior Mezz Lender’s failure to proceed in a commercially reasonable

manner. The Debtor is seeking immediate Chapter 11 relief because the Hotel will be forfeited

by an auction sale, and the opportunity to pay creditors will be lost.

        11.     Given the projections for future income, the appraised value of the Hotel, and the

solid location in Times Square where tourism is reviving, the Debtor believes that a refinancing

of the Hotel can ultimately be achieved within a reasonable period of time.

                                  Local Rule 1007-2 Disclosures

        12.     Pursuant to Local Rule 1007-2(a)(2) and (3), no committees were formed prior to

the filing of the Petition.

        13.     Pursuant to Local Rule 1007-2(a)(4), a list of the names and address of the

Debtor’s creditors is attached hereto.

        14.     Pursuant to Local Rule 1007-2(a)(5), the Senior Mezz Lender holds a lien against

the Debtor’s membership interest in the Hotel pursuant to a certain pledge agreement.

        15.     Pursuant to Local Rule 1007-2(a)(6), a summary of the assets and liabilities of the

Debtor will be set forth in the Schedules to be filed shortly.

        16.     Pursuant to Local Rule 1007-2(a)(7), the Debtor’s 100% membership interests are

held entirely by 560 Seventh Owner Mezz LLC.



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          17.   Pursuant to Local Rule 1007-2(a)(8), the Debtor’s sole asset is its 100%

membership interest in the Hotel.

          18.   Pursuant to Local Rule 1007-2(a)(9), the Debtor does not own any real property

directly, but owns the 100% membership interest in the Hotel.

          19.   Pursuant to Local Rule 1007-2(a)(10), the Debtor’s books and records are

maintained by me at my offices in Manhattan.

          20.   Pursuant to Local Rule 1007-2(a)(11), a schedule of pending lawsuits is attached

hereto.

          21.   Pursuant to Local Rule 1007-2(a)(12), I will not receive a salary or other

compensation from the Debtor during the Chapter 11 case.

          22.   Pursuant to Local Rule 1007-2(b), an operating budget will be filed in connection

with the likely Chapter 11 filing by the Hotel.

Dated: New York, NY
       July 7, 2023
                                              ________________________
                                              Sethian Pomerantz, President




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                MINUTES AND COMPANY RESOLUTIONS
   RELATING TO THE COMMENCEMENT OF CHAPTER 11 CASES AS NEEDED

       WHEREAS, pursuant to Notice dated July 3, 2023, a special meeting of the Mezz
Company, as defined below, was duly, noticed, called and convened via Zoom platform on July 7,
2023 at 3:00 p.m., at which time members of the Executive Committee of the Hotel, appeared
along with Independent Managers for the Mezz Company, Kristine E. Eppes and Benjamin L.
Hancock, to consider the filing of Chapter 11 petition on behalf of the Mezz Company; and

        WHEREAS, 560 Seventh Avenue Owners Secondary LLC (the “Mezz Company”), is the
equity holder of 560 Seventh Avenue Owners Primary LLC (the “Fee Owner”), which is the owner
of a certain 234 room hotel known as the Margaritaville Resort Times Square Hotel located at 560
Seventh Avenue, New York, NY (the “Hotel”);

        WHEREAS, the Hotel opened in 2021 during the midst of the Covid-19 pandemic and
labored under challenging marketing conditions resulting in operating shortfalls during its period
of stabilization, although the Hotel’s revenues are improving and are projected to exceed $25
million by 2024;

        WHEREAS, the Hotel is subject to multiple credit facilities, including a senior mortgage
loan, senior mezzanine loan and junior mezzanine loan;

       WHEREAS, the Fee Owner is seeking to refinance all existing mortgage and mezzanine
debt based upon indicative pay-offs from the respective lenders;

       WHEREAS, the lead mezzanine lender, AREP II MVTS LLC (the “Mezz Lender”), has
declared a default and issued a notice of disposition of collateral relating to a UCC sale of
membership interests of the Mezz Company at public auction presently scheduled for July 10,
2023 (the “Public Auction”);

        WHEREAS, the Public Auction of the membership interests threatens the operations and
future control of the Hotel;

       WHEREAS, the Mezz Company has commenced certain litigation against the Mezz
Lender in the Supreme Court, New York County, and filed an Order to Show Cause to stay the
Public Auction sale based upon claims that the sale is not being conducted in a commercially
reasonable manner;

       WHEREAS, a hearing on the Order to Show Cause was held on July 7, 2023;

       WHEREAS, pursuant to the terms of the Limited Liability Company Agreement of the
Mezz Company, the commencement of a bankruptcy case requires the prior unanimous written
consent of the Member and the Independent Managers, and

     WHEREAS, the undersigned being the Member and the Independent Managers of Mezz
Company, in accordance with the Delaware Limited Liability Company Act, 6 Del. C. § 18-101
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et. Seq. and the Limited Liability Company Agreement of Mezz Company, as amended in
September 2021 (the “Agreement”), do hereby consent to, adopt, authorize and approve the
following resolutions as of July 7, 2023;

        WHEREAS, the Member and the Independent Managers have considered the financial
and operational conditions of the Mezz Company and have reviewed supporting documentation
and the advice and recommendation of the Mezz Company’s professional and advisors with
respect to the options available to the Mezz Company, including the possibility of pursuing a
restructuring of the Mezz Company’s business and assets under title 11 of the United States
Bankruptcy Code (the “Bankruptcy Code”); and

        NOW, THEREFORE IT IS HEREBY RESOLVED, that after consideration of the
alternatives and the advise of the Mezz Company’s professionals and advisors, the Member has
determined in its business judgment that it is in the best interests of the Mezz Company, its
creditors, interest holders, and other interested parties and the Independent Managers having been
asked to consent to a Material Action pursuant to Section 9(d)(iii) of the Agreement, and
considering their fiduciary duties, if any, as provided under the Agreement that a voluntary petition
be filed by the Mezz Company seeking
        under Chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), in the
United States Bankruptcy Court for the Southern District of New York (the “Petition”), and the
filing of such Petition be, and hereby is, authorized in all respects; and it is.

        FURTHER RESOLVED, that Sethian Pomeranz, as the President of the Mezz Company,
is designated and authorized to be in charge of restructuring, responsible to oversee the legal
restructuring of the Mezz Company under Chapter 11 on a day-to-day basis; and it is

        FURTHER RESOLVED, that Sethian Pomeranz is authorized (a) to execute the Chapter
11 petition and all other accompanying documents on behalf of the Mezz Company, and cause the
same to be filed with the Bankruptcy Court; and (b) to negotiate, execute, verify and file, or cause
to be executed, verified and filed, all necessary documents, including, without limitation, all
petitions, affidavits, schedules, statements, lists, motions, applications, pleadings and other papers
or documents necessary or desirable to prosecute the Chapter 11 case and in that connection to
employ and retain legal counsel, financial advisors, accountants and other professionals and to
take any and all action he deems necessary and proper in connection with the bankruptcy case; and
it is

      FURTHER RESOLVED, that The Mezz Company is authorized to retain the law firm of
Goldberg Weprin Finkel Goldstein LLP as counsel in the Chapter 11 case under a general retainer.



       IN WITNESS WHEREOF, the undersigned Member and Independent Managers hereby
consent to and approve and adopt these resolutions as of the date set forth above and direct that
this Written Consent be filed with the Company’s minutes and official records.
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_________________________
Kristine E. Eppes, Independent Manager


_________________________
Benjamin L. Hancock, Independent Manager


_________________________
560 SEVENTH OWNER MEZZ LLC

By Sethian Pomerantz

Title: President
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
In re:                                                                       Chapter 11

560 Seventh Avenue Owner Secondary LLC,                                      Case No.

                                             Debtor.
-------------------------------------------------------------x


                                      LIST OF EQUITY HOLDERS



                                 560 Seventh Owner Mezz LLC 100%




Dated: New York, New York
       July 7, 2023

                                                     560 Seventh Avenue Owner Secondary LLC



                                                     By:         ____________________________
                                                                 Name: Sethian Pomerantz
                                                                 Title: President
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
In re:                                                                       Chapter 11

560 Seventh Avenue Owner Secondary LLC,                                      Case No.

                                             Debtor.
-------------------------------------------------------------x

                                            LIST OF LAWSUITS


    1.       560 Seventh Avenue Owners Secondary LLC v. AREPIII MVTS LLC
             Index No. 653095/2023
             Supreme Court, New York County

             Attorneys for the Defendant:
             Zachary S. Zwillinger, Esq.
             Paul Hastings LLP
             200 Park Avenue
             New York, NY 10166

Dated: New York, New York
       July 7, 2023

                                                     560 Seventh Avenue Owner Secondary LLC,



                                                     By:         _________________________
                                                                 Name: Sethian Pomerantz
                                                                 Title: President
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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------x
 In re:                                                           Chapter 11

 560 Seventh Avenue Owner Secondary LLC,                          Case No.

                                              Debtor.
 -------------------------------------------------------------x


                  RULE 7.1 CORPORATE OWNERSHIP STATEMENT


                  Pursuant to Federal Rule of Civil Procedure 7.1, 560 Seventh Avenue

 Owner Secondary LLC certifies that it is a private non-governmental party, and has no

 corporate parent, affiliates and/or subsidiaries which are publicly held.

 Dated: New York, New York
        July 7, 2023

                                             560 Seventh Avenue Owner Secondary LLC,



                                             By:      ___________________________
                                                      Name: Sethian Pomerantz
                                                      Title: President
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AREPIII MVTS LLC
c/o Arden Group
1600 Market Street, Suite 2600
Philadelphia, PA 19103

Brian Nath
1600 Market Street, Suite 2600
Philadelphia, PA 19103

Eric F. Allendorf, Esq.
Paul Hastings LLP
200 Park Avenue
New York, NY 10166

CREP Times Square Hotel LLC
c/o Corten Real Estate Partners
Attn: Brandon Fury, Principal
1000 N. West Street, Suite 913
Wilmington, DE 19801

ArentFox Schiff LLP
Attn: Richard L. Brand, Esq.
1717 K. Street N.W.
Washington, D.C. 20006

FTI Consulting
Attn: Eun Suk Oh
1166 Avenue of the Americas, 15th Floor
New York, NY 10036

Faegre Drinker Biddle & Reath LLP
Attn: Jinho Alex Yim
1177 Avenue of the Americas, 41st Floor
New York, NY 10036

OWS CRE Funding I, LLC
Attn: Victor Diaso
299 Park Avenue, 25th Floor
New York, NY 10171

Global One Asset Management
4F, Hanyang Bldg, 18, Gukhoe-daero 70-gil
Yeongdeungpo-gu, South Korea 07237

Internal Revenue Service
Centralized Insolvency Operations
PO Box 7346
Philadelphia, PA 19101-7346
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NYC Dep't of Finance
Legal Affairs, Collection Unit
375 Pearl St Apt 30
New York, NY 10038-1442

NYC Dept of Law
Attn: Bernadette Brennan, Esq.
100 Church St Rm 5-233
New York, NY 10007-2601

NYS Attorney General
28 Liberty St
New York, NY 10005-1400

NYS Dep't of Taxation
Bankruptcy/Special Procedure
PO Box 5300
Albany, NY 12205-0300
